     Case 4:21-cv-00434 Document 19 Filed on 09/29/21 in TXSD Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

GUADALUPE GARCIA, AND                        §
JUAN GARCIA                                  §
                                             §    Civil Action No. 4:21-cv-00434
               Plaintiff,                    §
                                             §
               v.                            §
                                             §
SOUTHERN DENTAL AT                           §
SPRING BRANCH, PLLC                          §
                                             §
               Defendant.                    §


                                  STIPULATION TO DISMISS


TO THE CLERK:

       Pursuant to Rule 41(a)(1)(A)(ii), counsel for all parties hereto stipulate to the dismissal

with prejudice and with each party to bear its own costs and fees.



  /s/ John C. Sokatch                                /s/ Jacob U. Ginsburg
   John C. Sokatch                                    Jacob U. Ginsburg Esq.
   Texas Bar No. 24083889                             Kimmel & Silverman, P.C.
   jsokatch@dykema.com                                30 East Butler Pike
   Dykema Gosset PLLC                                 Ambler, PA 19002
   1717 Main Street, Suite 4200                       Phone: (215) 540-8888
   Dallas, Texas 75201                                Fax: (215) 540-8817
   Telephone: (214) 462-6400                          Email: jginsburg@creditlaw.com
   Fax: (214) 462-6401                                Attorney for the Plaintiff
   Attorney for the Defendant
                                                      Date: September 29, 2021
   Date: September 29, 2021
     Case 4:21-cv-00434 Document 19 Filed on 09/29/21 in TXSD Page 2 of 2

                              CERTIFICATE OF SERVICE




       I, Jacob U. Ginsburg, Esquire, do certify that I served a true and correct copy of the

Stipulation of Dismissal in the above-captioned matter, upon the following via CM/ECF system:

  John C. Sokatch
  Texas Bar No. 24083889
  jsokatch@dykema.com
  Dykema Gosset PLLC
  1717 Main Street, Suite 4200
  Dallas, Texas 75201
  Telephone: (214) 462-6400
  Fax: (214) 462-6401
  Attorney for the Defendant


DATED: September 29, 2021                 /s/ Jacob U. Ginsburg
                                           Jacob U. Ginsburg Esq.
                                           Kimmel & Silverman, P.C.
                                           30 East Butler Pike
                                           Ambler, PA 19002
                                           Tel: 215-540-8888
                                           Fax: 215-540-8817
                                           Email:jginsburg@creditlaw.com
                                           Attorney for Plaintiff
